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  IT IS ORDERED as set forth below:



  Date: August 8, 2022
                                                      _____________________________________
                                                                 Lisa Ritchey Craig
                                                            U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                       :          CASE NO. 21-54965-LRC
                                             :
MICHAEL SCOT FLECK,                          :          CHAPTER 7
                                             :
         Debtor.                             :
                                             :

              ORDER APPROVING SUBSTITUTION OF ATTORNEYS,
                        SUBJECT TO OBJECTION

         On August 5, 2022, S. Gregory Hays, in his capacity as Chapter 7 Trustee (the

“Trustee”), filed an application for substitution of Rountree Leitman Klein & Geer LLC

(“RLKG” or “Applicant”) as attorneys for Trustee [Doc. No. 38] (the “Application”).

The Application and accompanying verified statement demonstrate that RLKG is a firm of

attorneys qualified to practice in this Court, that RLKG is disinterested and represents no
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interest adverse to Debtor or the bankruptcy estate, and that the requested substitution of

RLKG for Arnall Golden Gregory LLP will be in the best interest of the bankruptcy estate.

Having reviewed the Application and for good cause shown, it is hereby

       ORDERED that the Application is GRANTED: RLKG is hereby substituted for

Arnall Golden Gregory LLP as attorneys for Trustee in this case. It is further

       ORDERED that compensation shall be paid to RLKG upon notice, hearing, and

approval of the Court pursuant to 11 U.S.C. §§ 330, 331 and Bankruptcy Rule 2016 of an

appropriately detailed application. It is further

       ORDERED that this Order is entered subject to written objection of the U.S.

Trustee or any other party in interest within twenty-one (21) days from the date of entry of

this Order. Any objection to this Order shall be served on the United States Trustee,

Trustee, and proposed counsel for Trustee. If an objection is timely filed, then proposed

counsel for Trustee shall schedule a hearing on the Application and such objection pursuant

to the Court’s open calendar procedures, and shall provide notice of such hearing to the

United States Trustee, Trustee, and the objecting party.

                                 [END OF DOCUMENT]




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Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER LLC

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Proposed Substitute Attorneys for Trustee
Identification of parties to be served:

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